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                   United stateJ Bankruptcy Court
                    Northern District of Alabama
                          Sout~ern Division
                                                     I

 In re: Lawanda M Freeman,                           ! )
             Debtor,                                 I )            Case No. 22-00619-DSCI3
                                                     I       )



 Lawanda M Freeman                               ! )
           Plaintiff,                            I )
                                                 I           )       APNo.
 v.                                              ! )
                                     I )
 L VNV Funding LLC                               I           )


 and Resurgent Capital Services L.P ~ )
                                    I )
            Defendants.                      I               )


                                    I        ,


          COMPLAINT TO DETfRMINE VALIDITY OF CLAIMS

                                   JURISDICTION

      1. Jurisdiction of this Court Jises under II U.S.C. Sections 105, 501, 502,
         544 and Bankruptcy Rules 3dol, 7001.

      2. This action arises out of D ermination of the Validity of Claims Number
         11, 12, 13, 14, 15, 16, 18,20 & 21 which were objected to on June 27 th ,
         2022.

                                                                 PARTIES
                                         I



      3. Plaintiff, Lawanda M Freel~tan is a natural person who resides in Jefferson
         County, Alabama.           I
                                         I



      4. Defendants are LVNV Fun~ing LLC a Delaware Corporation (LVNV) and
         Resurgent Capital Services ~.P. (RCS), a Limited Partnership that is a debt
         collection agency headquartred in Greenville, South Carolina.
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                           FACTUA ALLEGATIONS
                                              r
   5. Plaintiff filed a Chapter 13 pJtition on March 17th , 2022.
                                                  I



   6. Plaintiff objected to the Clai~s listed above on June 27th, 2022.

   7. Plaintiff on June 28 th , 2022 mJde a written request for all transfers or
      assignments off the Claims listed above.
                                              I



   8. At the time of filing the   Chap~r 13 petition, none of theses Claims belonged
      to LVNV.

   9. None of the objected to Claimjs as listed above provided an itemized
      statement of the interest, fees'iexpenses or charges.

   10.Failure to provide the itemize~ statement in an individual Debtor case may
      result in sanctions on the Creditor per Bankruptcy Rule 3001(c)(2).

   11. In the production of transfersi or assignments for Claims Number 11, 12, 13,
      14, 15 &16 to Resurgent Acquisitions, LLC the Bill of Sale from Synchrony
      is signed and dated April 29th ~ 2022 16: 10 EDT.
                                          I

   12. The transfers or assignments Ifrom Resurgent Acquisitions, LLC to LVNV
      Funding LLC was made on Ajpril 27, 2022, some two days before the
      claimed acquisition as listed ib Claims Number 11, 12, 13, 14, 15 & 16.

   13. As to Claim Number 20 the ~eclaration of Account Transfer lacks any
      reference to Debtor's debt anfor date of transfer.
                                      I


   14. More than 30 days have pas~ed since the written request for transfer or
      assignment of debts includediin Claims Number 18 & 21 and to date none
      has been produced nor has th~re been a statement that such transfer or
      assignment has been lost or fstroyed.

   15. Failure to comply with Banklruptcy Rule 3001 (c)(2)(D) provides for the
      award off appropriate relief, 'ncluding reasonable expenses and attorney's
      fees caused by the failure. i
                                      I




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                                                I
    16. Sherman Financial Group LLfowns LVNV Funding LLC.

    17. Sherman Financial Group LLf is a partner in Resurgent Capital Services,
       L.P.

    18. Sherman Financial Group LL~ owns Resurgent Acquisitions LLC.


                                 P~YER FOR RELIEF
                                            I


 WHEREFORE, Plaintiff prays thatleach of the objected to Claims be found as
 invalid and order the following:

 a.) Sanction Defendants for failure ~o comply with Bankruptcy Rule 3001(c)(2)as
 required in an individual Debtor cast.

 b.) Sanction Defendants as provide4 for in Rule 3001 (c)(2)(D)(i) and preclude
 them from presenting the omitted information, in any form, as evidence in this
 adversary proceeding and disallow each of the listed objected to Claims.
                                        I
 c.) Award other appropriate relief, ir.'cluding reasonable expenses and attorney's
 fees as provided for in Rule 3001(c)(2)(D)(ii).
                                        I
 d.) Disallow each of the Objected tf Claims as part of the sanctions.

 e.) And such other relief that the C~urt may grant.



                                                    Respectfully submitted,

                                                     /s/ Michael J Antonio, Jr.
                                                    Michael J Antonio, Jr.
                                                    Attorney for Debtor
                                                    GREYSTONE LEGAL CLINIC
                                                    1004 - 50TH Street N.
                                                    Birmingham, Alabama 35212
                                                    Telephone (205)591-7966




                                    j

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                            CERTIFIATE OF SERVICE
                                               I
       I hereby certify that I have serred a copy of the foregoing upon the
 following by electronic filing througp the CMlECF system or first class US mail
 postage prepaid and properly addres~ed on this the 7th day of September, 2022.

 LVNV Funding, LLC
 c/o Resurgent Capital Services
 PO Box 10587
 Greenville, SC 29603-0587
                                               I
 L VNV Funding, LLC
 its President or CEO           I
 6801 S Cimarron Road STE 424-3 I
 Las Vegas, NY 89113
                                           I
 LVNV Funding, LLC
 55 Beattie Place Ste 110
                                           I
 Greenville, SC 29601                      I

 L VNV Funding, LLC               I
 c/o Corporation Service Company rbc
 641 South Lawrence Street
 Montgomery, AL 36104             I
                                           I
 LVNV Funding, LLC
 c/o Amanda M Beckett, Esq.            I
 Rubin Lublin, LLC                     I
 428 N Lamar Blvd., Suite 107          I




 Oxford, Mississippi 38655             I
                                       I
 Resurgent Capital Services, L,P,      I


 its General Partner - Alegis GroupJ LLC
 9700 Richmond, Ste 160             I
 Houston, TX 77042                  i

                                   I
                                   I



                                  I


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 55 Beattie Place
 Suite 110 MS 425
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 Resurgent Capital Services, L.P.
 c/o Corporation Service Company I c
 641 South Lawrence Street
 Montgomery, AL 36104



                                            lsI Michael J. Antonio. Jr.
                                            Of Counsel




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